               Case 17-40951                    Doc 25               Filed 06/26/17 Entered 06/26/17 13:55:39   Desc Main   6/26/17 1:45PM
                                                                       Document     Page 1 of 6


                                                                      OFFICIAL LOCAL FORM 3


                                                        UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF MASSACHUSETTS

                                                             CHAPTER 13 PLAN COVER SHEET

 Filing Date:                 5/23/17                                             Docket #:    17-40951
 Debtor:                     Cynthia Dunn                                         Co-Debtor:
 SS#:                        xxx-xx-1444                                          SS#:
                             43 Emily Street
 Address:                    Haverhill, MA 01832                                  Address:

 Debtor's Counsel: Richard D. Smeloff 567869ATY
                             500 Granite Ave
                             Suites 7&8
 Address:                    Milton, MA 02186
 Telephone #:                617-690-2124
 Facsimile #:                617-690-2506


ATTACHED TO THIS COVER SHEET IS THE CHAPTER 13 PLAN FILED BY THE DEBTOR(S) IN THIS CASE. THIS
PLAN SETS OUT THE PROPOSED TREATMENT OF THE CLAIMS OF CREDITORS. THE CLAIMS ARE SET
FORTH IN THE BANKRUPTCY SCHEDULES FILED BY DEBTOR(S) WITH THE BANKRUPTCY COURT.


YOU WILL RECEIVE A SEPARATE NOTICE FROM THE BANKRUPTCY COURT OF THE SCHEDULED CREDITORS'
MEETING PURSUANT TO 11 U.S.C. § 341. THAT NOTICE WILL ALSO ESTABLISH THE BAR DATE FOR FILING
PROOFS OF CLAIMS.


PURSUANT TO THE MASSACHUSETTS LOCAL BANKRUPTCY RULES, YOU HAVE UNTIL THIRTY (30) DAYS
AFTER THE § 341 MEETING OR THIRTY (30) DAYS AFTER THE SERVICE OF AN AMENDED OR MODIFIED PLAN
TO FILE AN OBJECTION TO CONFIRMATION OF THE CHAPTER 13 PLAN, WHICH OBJECTION MUST BE
SERVED ON THE DEBTOR, DEBTOR'S COUNSEL AND THE CHAPTER 13 TRUSTEE.




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                    Best Case Bankruptcy
               Case 17-40951                    Doc 25               Filed 06/26/17 Entered 06/26/17 13:55:39                     Desc Main     6/26/17 1:45PM
                                                                       Document     Page 2 of 6

                                                                     OFFICIAL LOCAL FORM 3

                                                         UNITED STATES BANKRUPTCY COURT
                                                            DISTRICT OF MASSACHUSETTS

                                                    PRE-CONFIRMATION CHAPTER 13 PLAN

                                                                          CHAPTER 13 PLAN


       Docket No.: 17-40951

 DEBTOR(S):                (H)      Cynthia Dunn                                                              SS#   xxx-xx-1444

                           (W)                                                                                SS#



I. PLAN PAYMENT AND TERM:

      Debtor's shall pay monthly to the Trustee the sum of $                  1,860.00     for the term of:

          36 Months. 11 U.S.C. § 1325(b)(4)(A)(i);

          60 Months. 11 U.S.C. § 1325(b)(4)(A)(ii);

          60 Months. 11 U.S.C. § 1322(d)(2). Debtor avers the following cause:

       Due to Feasibility.                                                                                                                        ;or

                  Months. The Debtor states as reasons therefore:




II. SECURED CLAIMS

A. Claims to be paid through the plan (including arrears):

 Creditor                                             Description of Claim (pre-petition arrears,                             Amount of Claim
                                                      purchase money, etc.)
 Statebridge Company                                  Pre-petition arrears                                    $                      94,489.00

         Total of secured claims to be paid through the Plan $                                         94,489.00
B. Claims to be paid directly by debtor to creditors (Not through Plan):
Creditor                                                                                    Description of Claim
 Capital One Auto Finance                                                Automobile Loan
 Statebridge Company                                                     Mortgage

C. Modification of Secured Claims:

 Creditor                                                    Details of Modification                                   Amt. of Claim to Be Paid
                                                             (Additional Details                                                  Through Plan
                                                             May Be Attached)
 -NONE-




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                 Case 17-40951                  Doc 25               Filed 06/26/17 Entered 06/26/17 13:55:39         Desc Main          6/26/17 1:45PM
                                                                       Document     Page 3 of 6

D. Leases:

            i.    The Debtor(s) intend(s) to reject the residential/personal property lease claims of
                      -NONE-
                  ; or

            ii. The Debtor(s) intend(s) to assume the residential/personal property lease claims of
                      -NONE-
                  .

            iii. The arrears under the lease to be paid under the plan are             0.00 .

III. PRIORITY CLAIMS

A. Domestic Support Obligations:

 Creditor                                             Description of Claim                                           Amount of Claim
 -NONE-                                                                                                  $

B. Other:

 Creditor                                             Description of Claim                                           Amount of Claim
 -NONE-                                                                                                  $

 Total of Priority Claims to Be Paid Through the Plan $                     0.00


IV. ADMINISTRATIVE CLAIMS

A. Attorneys fees (to be paid through the plan):                                                                            $ 0.00

B. Miscellaneous fees:

 Creditor                                             Description of Claim                                           Amount of Claim
 -NONE-                                                                                                  $

C. The Chapter 13 Trustee's fee is determined by Order of the United States Attorney General. The calculation of the Plan payment
   set forth utilizes a 10% Trustee's commission.


V. UNSECURED CLAIMS

The general unsecured creditors shall receive a dividend of                   100   % of their claims.

 A. General unsecured claims:                                                                                    $   5,908.00

B. Undersecured claims arising after lien avoidance/cramdown:

 Creditor                                             Description of Claim                                           Amount of Claim

C. Non-Dischargeable Unsecured Claims:

 Creditor                                             Description of claim                                           Amount of Claim
 -NONE-                                                                                                      $

 Total of Unsecured Claims (A + B + C):                                                                      $                  5,908.00

D. Multiply total by percentage: $ 5,908.00
    (Example: Total of $38,500.00 x .22 dividend = $8,470.00)



Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                 Best Case Bankruptcy
               Case 17-40951                    Doc 25               Filed 06/26/17 Entered 06/26/17 13:55:39                Desc Main       6/26/17 1:45PM
                                                                       Document     Page 4 of 6

E. Separately classified unsecured claims (co-borrower, etc.):

             Creditor                                          Description of claim                                         Amount of claim
             -NONE-                                                                                       $

             Total amount of separately classified claims payable at                     %                    $                         0.00


VI. OTHER PROVISIONS


            A. Liquidation of assets to be used to fund plan:


            B. Miscellaneous provisions:

                        In order to receive a distribution under the Plan, a Proof of Claim must be timely filed.

VII. CALCULATION OF PLAN PAYMENT

 A) Secured claims (Section I-A Total):                                                    $                              94,489.00
 B) Priority claims (Section II-A&B Total):                                                $                                    0.00
 C) Administrative claims (Section III-A&B Total):                                         $                                    0.00
 D) Regular unsecured claims (Section IV-D Total):+                                        $                                5,908.00
 E) Separately classified unsecured claims:                                                $                                    0.00
 F) Total of a + b + c + d + e above:                                                    =$                              100,397.00
 G) Divide (f) by .90 for total including Trustee's fee:
                                                       Cost of Plan=                       $                             111,553.20
                    (This represents the total amount to be paid into the Chapter 13 plan)
 H. Divide (G), Cost of Plan, by Term of Plan,                                           60 months
 I. Round up to nearest dollar for Monthly Plan                                            $                                1,860.00
 Payment:
 (Enter this amount on page 1)

Pursuant to 11 U.S.C. § 1326(a) (1), unless the Court orders otherwise, a debtor shall commence making the payments proposed by a
plan within thirty (30) days after the petition is filed. Pursuant to 11 U.S.C. §1326(a)(1)(C), the debtor shall make preconfirmation
adequate protection payments directly to the secured creditor.


VIII. LIQUIDATION ANALYSIS

A. Real Estate:

 Address                                                                              Fair Market Value       Total Amount of Recorded Liens
                                                                                                                                (Schedule D)
 43 Emily Street Haverhill, MA 01832 Essex
 County                                                                  $                   237,892.00   $                      239,750.00

 Total Net Equity for Real Property:                       $                          0.00
 Less Exemptions (Schedule C):                             $                          0.00
 Available Chapter 7:                                      $                          0.00




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
               Case 17-40951                    Doc 25               Filed 06/26/17 Entered 06/26/17 13:55:39                Desc Main    6/26/17 1:45PM
                                                                       Document     Page 5 of 6

B. Automobile (Describe year, make and model):

 2005 Chevy Silverado 210,000 miles                       Value $                 5,000.00    Lien $           0.00   Exemption $          5,000.00
 2008 Mazda 6 155,000 miles                               Value $                 1,950.00    Lien $           0.00   Exemption $          1,950.00
 2014 Nissan Pathfinder 35,000 miles                      Value $                20,775.00    Lien $      30,055.00   Exemption $              0.00
 2008 Audi A8 150,000 miles                               Value $                 6,825.00    Lien $           0.00   Exemption $          6,825.00

 Total Net Equity:                                         $ 13,775.00
 Less Exemptions (Schedule C):                             $ 13,775.00
 Available Chapter 7:                                      $ 0.00

C. All other Assets (All remaining items on Schedule B): (Itemize as necessary)
 Household Furnishings
 Misc. Electronics
 Clothing
 Misc. Jewelry
 Cash
 Checking: Bank of America
 Checking: Alligned Credit Union
 Savings: Alligned Credit Union
 401(k): Fidelity
 Term Life Policy Through Employer
 Whole Life Policy Through Colonial Life - No Cash Value

 Total Net Value:                                          $ 8,447.00
 Less Exemptions (Schedule C):                             $ 8,447.00
 Available Chapter 7:                                      $ 0.00

D. Summary of Liquidation Analysis (total amount available under Chapter 7):

 Net Equity (A and B) plus Other Assets (C) less all claimed exemptions: $                                            0.00

E. Additional Comments regarding Liquidation Analysis:



IX. SIGNATURES

Pursuant to the Chapter 13 rules, the debtor or his or her attorney is required to serve a copy of the Plan upon the Chapter 13 Trustee,
all creditors and interested parties, and to file a Certificate of Service accordingly.

 /s/ Richard D. Smeloff                                                                   June 26, 2017
 Richard D. Smeloff 567869ATY                                                                   Date
 Debtor's Attorney
 Attorney's Address: 500 Granite Ave
                              Suites 7&8
                              Milton, MA 02186
                              Tel. #:         617-690-2124 Fax:617-690-2506
                              Email Address: rsmeloff@msn.com

I/WE DECLARE UNDER THE PENALTIES OF PERJURY THAT THE FOREGOING REPRESENTATIONS OF FACT
ARE TRUE AND CORRECT TO THE BEST OF OUR KNOWLEDGE AND BELIEF.


 Date June 26, 2017                                                      Signature   /s/ Cynthia Dunn
                                                                                     Cynthia Dunn
                                                                                     Debtor




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
               Case 17-40951                    Doc 25               Filed 06/26/17 Entered 06/26/17 13:55:39         Desc Main
                                                                       Document     Page 6 of 6

                                                               United States Bankruptcy Court
                                                                        District of Massachusetts
 In re      Cynthia Dunn                                                                                 Case No.   17-40951
                                                                                   Debtor(s)             Chapter    13



                                                                 CERTIFICATE OF SERVICE
I hereby certify that on June 26, 2017, a copy of the Plan was served electronically or by regular United States
mail to all interested parties, the Trustee and all creditors listed below.

 Capital One
 Po Box 30285
 Salt Lake City, UT 84130
 Capital One Auto Finance
 7933 Preston Rd
 Plano, TX 75024
 Collection
 30 Massachusetts Ave
 North Andover, MA 01845
 Collection
 30 Massachusetts Ave
 North Andover, MA 01845
 Guaetta & Benson
 PO Box 519
 Chelmsford, MA 01824
 Midland Funding
 2365 Northside Dr
 Suite 300
 San Diego, CA 92108
 National Recovery Agency
 2491 Paxton St
 Harrisburg, PA 17111
 Portfolio Recovery
 Po Box 41067
 Norfolk, VA 23541
 Statebridge Company
 4600 S Syracuse St Ste 7
 Denver, CO 80237



                                                                                /s/ Richard D. Smeloff
                                                                                Richard D. Smeloff 567869ATY
                                                                                Smeloff & Associates
                                                                                500 Granite Ave
                                                                                Suites 7&8
                                                                                Milton, MA 02186
                                                                                617-690-2124Fax:617-690-2506
                                                                                rsmeloff@msn.com




Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                             Best Case Bankruptcy
